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                              UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


  IN RE: ROUNDUP PRODUCTS                             MDL No. 2741
  LIABILITY LITIGATION
                                                      Case No. 16-md-02741-VC


  This document relates to:                           ORDER REGARDING OBJECTIONS
                                                      TO PRETRIAL ORDER NO. 312
  ALL CASES




       The Court has reviewed the objections to PTO 312 and finds that they do not provide a

basis for deviating from the allocation set forth in that order.



       IT IS SO ORDERED.

Dated: April 1, 2025
                                               ______________________________________
                                               VINCE CHHABRIA
                                               United States District Judge
